              Case 6:15-bk-08570-KSJ          Doc 163     Filed 10/01/18     Page 1 of 2



                                         ORDERED.


         Dated: September 28, 2018




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     Orlando DIVISION

In re:

                                                                                    Case No:15-8570
BENITO RODRIGUEZ                                                                          Chapter 7
MARIA RODRIGUEZ


                        Debtor(s)        /

                 ORDER GRANTING APPLICATION FOR COMPENSATION

          THIS CASE came on for consideration on the Application for compensation for realtor

(Doc #161) filed by Arvind Mahendru, Trustee (“Trustee”). The Court considered the record and

finds:

          1. The Trustee filed an Application for compensation for realtor ["Application"] (Doc

#161) on August 22, 2018.

          2. A Certificate of Service was attached to the Application stating that copies of the

Application were served to all persons by either electronic transmission or by first-class United

States Mail, postage prepaid, in accordance with F.R.B.P. 7004 on August 22, 2018.

          3. The Application contained a negative notice provision pursuant to Local Rule 2002-4

which allowed creditors and parties in interest a period of twenty - one (21) days from the date of

service of the Motion to file an objection.
           Case 6:15-bk-08570-KSJ          Doc 163     Filed 10/01/18     Page 2 of 2



       4. The twenty – one (21) day notice period has expired and no objections to the Motion

have been filed with the Bankruptcy Court.

Based on the foregoing it is

       ORDERED as follows:

       1. The Motion is GRANTED.

       2. The Trustee is authorized to pay Century 21 Carioti in the amount of $1,500.00.

       3. The Trustee is authorized to pay BK Global Real Estate Services in the amount of

           $4,500.00.


Trustee Arvind Mahendru is directed to serve a copy of this order on interested parties and file a
proof of service within 3 days of entry of the order.
